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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TENNESSEE
                                     MEMPHIS DIVISION

 LITICIA GASTON and
 TIFFANY EDWARDS,
                                                   CASE NO.:
      Plaintiffs,

 v.

 CREDIT ACCEPTANCE CORP.,

      Defendant.
                                        /

                     COMPLAINT AND DEMAND FOR JURY TRIAL

         COMES NOW, Plaintiffs, Liticia Gaston and Tiffany Edwards (hereinafter

 “Plaintiffs”), by and through the undersigned counsel, and sues Defendant, Credit

 Acceptance Corporation (hereinafter “Defendant”), and in support thereof respectfully

 alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.

 (“TCPA”).

                                      INTRODUCTION

           1.       The TCPA was enacted to prevent companies like Defendant from

 invading American citizen’s privacy and to prevent abusive “robo-calls.”

           2.       “The TCPA is designed to protect individual consumers from receiving

 intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

 (2012).

           3.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

 *1256 scourge of modern civilization, they wake us up in the morning; they interrupt our



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 dinner at night; they force the sick and elderly out of bed; they hound us until we want to

 rip the telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings

 presumably intended to give telephone subscribers another option: telling the autodialers

 to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir.

 2014).

          4.       According    to   the   Federal   Communications    Commission      (FCC),

 “Unwanted calls and texts are the number one complaint to the FCC.                There are

 thousands of complaints to the FCC every month on both telemarketing and robocalls.

 The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

 Proposal to Protect and Empower Consumers Against Unwanted Robocalls, Texts to

 Wireless       Phones,   Federal    Communications     Commission,      (May    27,    2015),

 https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                                JURISDICTION AND VENUE

           5.      Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

 violations of the TCPA.

           6.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

 this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

 district courts shall have original jurisdiction of all civil actions arising under the

 Constitution, laws, or treaties of the United States; and this action involves violations of

 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

 and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).



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        7.      The alleged violations described herein occurred in Shelby County,

 Tennessee. Accordingly, venue is appropriate with this Court under 28 U.S.C.

 §1391(b)(2), as it is the judicial district in which a substantial part of the events or

 omissions giving rise to this action occurred.

                               FACTUAL ALLEGATIONS

        8.      Plaintiffs are natural persons, and citizens of the State of Tennessee,

 residing in Shelby County, Tennessee.

        9.      Plaintiffs are the “called parties.” See Breslow v. Wells Fargo Bank, N.A.,

 755 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242

 (11th Cir. 2014).

        10.     Defendant is a corporation with its principal place of business located at

 25505 West Twelve Mile Road, Southfield, Michigan 48034, and which conducts

 business in the State of Tennessee through its registered agent, Corporation Service

 Company, located at 2908 Poston Avenue, Nashville, Tennessee 37203-1312.

        11.     Defendant called the Plaintiffs each approximately one hundred fifty (150)

 times in an attempt to collect on a loan associated with a 2006 Toyota Corolla.

        12.     Upon information and belief, some or all of the calls Defendant made to

 the Plaintiffs’ cellular telephone numbers were made using an “automatic telephone

 dialing system” which has the capacity to store or produce telephone numbers to be

 called, using a random or sequential number generator (including but not limited to a

 predictive dialer) or an artificial or pre-recorded voice; and to dial such numbers as

 specified by 47 U.S.C § 227(a)(1) (hereinafter “auto-dialer calls”). Plaintiffs will testify



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 that they each knew it was an auto-dialer because of the vast number of calls they

 received and because they heard a pause when they answered their phones before a voice

 came on the line; additionally, the Plaintiffs received multiple pre-recorded messages on

 their voicemails from Defendant.

        13.     Plaintiff, Liticia Gaston, is the subscriber, regular user and carrier of the

 cellular telephone number (901) ***-2678 and was the called party and recipient of

 Defendant’s calls to that number.

        14.     Plaintiff, Tiffany Edwards, is the subscriber, regular user and carrier of the

 cellular telephone number (901) ***-2644 and was the called party and recipient of

 Defendant’s calls to that number.

        15.     Defendant     placed    hundreds    of   auto-dialed    calls   to   Plaintiffs’

 aforementioned cellular telephone numbers in an attempt to collect on an auto loan.

        16.     On several occasions since the Defendant’s campaign of harassing phone

 calls began in 2018, the Plaintiffs have each instructed Defendant’s agent(s) to stop

 calling their cellular telephone numbers. Soon after the calls began both Plaintiffs asked

 Defendant’s agents to “stop calling” during recorded collection calls. Further, Plaintiff,

 Liticia Gaston, asked the Defendant to again stop calling in mid-May 2018.

        17.     Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice to individuals just as they did to the Plaintiffs’

 cellular telephone numbers in this case.

        18.     Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice, just as they did to the Plaintiffs’ cellular



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 telephone numbers in this case, with no way for the consumer, Plaintiffs, or Defendant to

 remove the cellular telephone numbers.

         19.    Defendant’s corporate policy is structured so as to continue to call

 individuals like Plaintiffs, despite these individuals explaining to Defendant they do not

 wish to be called.

         20.    Defendant has numerous other federal lawsuits pending against them

 alleging similar violations as stated in this Complaint.

         21.    Defendant has numerous complaints against it across the country asserting

 that its automatic telephone dialing system continues to call despite being requested to

 stop.

         22.    Defendant has had numerous complaints against it from consumers across

 the country asking to not be called, however Defendant continues to call these

 individuals.

         23.    Defendant’s corporate policy provided no means for Plaintiffs to have

 their cellular telephone numbers removed from Defendant’s call list.

         24.    Defendant has a corporate policy to harass and abuse individuals despite

 actual knowledge the called parties do not wish to be called.

         25.    Not one of Defendant’s telephone calls placed to Plaintiffs were for

 “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

         26.    Defendant willfully and/or knowingly violated the TCPA with respect to

 Plaintiffs.




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        27.     From each and every call placed without express consent by Defendant to

 Plaintiffs’ cellular telephones, Plaintiffs suffered the injury of invasion of privacy and the

 intrusion upon their right of seclusion.

        28.     From each and every call without express consent placed by Defendant to

 Plaintiffs’ cellular telephones, Plaintiffs suffered the injury of the occupation of their

 cellular telephone lines and cellular telephones by unwelcome calls, making the cellular

 telephones unavailable for legitimate callers or outgoing calls while the cellular

 telephones were ringing from Defendant’s calls.

        29.     From each and every call placed without express consent by Defendant to

 Plaintiffs’ cellular telephones, Plaintiffs suffered the injury of unnecessary expenditure of

 their time. For calls they answered, the time they spent on the call was unnecessary as

 they had repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiffs had

 to waste time to unlock their cellular telephones and deal with missed call notifications

 and call logs that reflect the unwanted calls. This also impaired the usefulness of these

 features of Plaintiffs’ cellular telephones, which are designed to inform the user of

 important missed communications.

        30.     Each and every call placed without express consent by Defendant to

 Plaintiffs’ cellular telephones was an injury in the form of a nuisance and annoyance to

 the Plaintiffs. For calls that were answered, Plaintiffs had to go to the unnecessary trouble

 of answering them. Even for unanswered calls, Plaintiffs had to waste time to unlock

 their cellular telephones and deal with missed call notifications and call logs that

 reflected the unwanted calls. This also impaired the usefulness of these features of



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 Plaintiffs’ cellular telephones, which are designed to inform the user of important missed

 communications.

         31.     Each and every call placed without express consent by Defendant to

 Plaintiffs’ cellular telephones resulted in the injury of unnecessary expenditure of

 Plaintiffs’ cellular telephone’s battery power.

         32.     Each and every call placed without express consent by Defendant to

 Plaintiffs’ cellular telephones where a voice message was left which occupied space in

 Plaintiffs’ cellular telephones or network.

         33.     Each and every call placed without express consent by Defendant to

 Plaintiffs’ cellular telephones resulted in the injury of a trespass to Plaintiffs’ chattel,

 namely their cellular telephones and their cellular telephone services.

         34.     As a result of the calls described above, Plaintiff, Liticia Gaston, suffered

 an invasion of privacy. Plaintiff was also affected in a personal and individualized way

 by stress, nervousness, embarrassment, and aggravation.

         35.     As a result of the calls described above, Plaintiff, Tiffany Edwards,

 suffered an invasion of privacy. Plaintiff was also affected in a personal and

 individualized way by stress, nervousness, embarrassment, and aggravation.

                                         COUNT I
                     (Violation of the TCPA for calls to 901-***-2678)

         36.     Plaintiff, Liticia Gaston, fully incorporates and re-alleges paragraphs one

 (1) through thirty-five (35) as if fully set forth herein.




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         37.     Defendant willfully violated the TCPA with respect to calls to 901-***-

 2678, specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone

 after Plaintiff notified Defendant that Plaintiff wished for the calls to stop.

         38.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

 cellular telephone using an automatic telephone dialing system or pre-recorded or

 artificial voice without Plaintiff’s prior express consent in violation of federal law,

 including 47 U.S.C § 227(b)(1)(A)(iii).

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against Credit Acceptance Corporation for statutory damages,

 punitive damages, actual damages, treble damages, enjoinder from further violations of

 these parts and any other such relief the court may deem just and proper.

                                        COUNT II
                     (Violation of the TCPA for calls to 901-***-2644)

         39.     Plaintiff, Tiffany Edwards, fully incorporates and re-alleges paragraphs

 one (1) through thirty-five (35) as if fully set forth herein.

         40.     Defendant willfully violated the TCPA with respect to calls to 901-***-

 2644, specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone

 after Plaintiff notified Defendant that Plaintiff wished for the calls to stop.

         41.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

 cellular telephone using an automatic telephone dialing system or pre-recorded or

 artificial voice without Plaintiff’s prior express consent in violation of federal law,

 including 47 U.S.C § 227(b)(1)(A)(iii).




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        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against Credit Acceptance Corporation for statutory damages,

 punitive damages, actual damages, treble damages, enjoinder from further violations of

 these parts and any other such relief the court may deem just and proper.



                                              Respectfully submitted,



                                                 /s/Frank H. Kerney, III, Esquire
                                                 Frank H. Kerney, III, Esquire
                                                 BPR #: 035859
                                                 Morgan & Morgan, Tampa, P.A.
                                                 One Tampa City Center
                                                 201 North Franklin Street, 7th Floor
                                                 Tampa, FL 33602
                                                 Telephone: (813) 223-5505
                                                 Facsimile: (813) 223-5402
                                                 fkerney@forthepeople.com
                                                 jkneeland@forthepeople.com
                                                 snazario@forthepeople.com
                                                 Counsel for Plaintiff




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